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 Attorneys for the Petitioner Robert Marie Mark Karpeles,
 Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                            )
 In re                                      ) Chapter 15
                                            )
 MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                            )
            Debtor in a Foreign Proceeding. )
                                            )

                                     NOTICE OF HEARING
                                      [Relates to Dkt. No. 48]

           PLEASE TAKE NOTICE that the hearing on the Petitioner’s Emergency Motion to

 Approve Notice Procedures [Dkt. No. 48] is set to occur on April 1, 2014 at 1:30 p.m.

 (Prevailing Central Time) and will take place before the Honorable Stacey G.C. Jernigan, at



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 the United States Bankruptcy Court, Northern District of Texas, 14th Floor, 1100

 Commerce Street, Dallas, Texas 75252.

 Dated: March 28, 2014                    Respectfully submitted,
        Dallas, Texas
                                          BAKER & McKENZIE LLP

                                          By:    /s/ David W. Parham
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                                   CERTIFICATE OF SERVICE

          This is to certify that on March 28, 2014, a copy of the foregoing document was served
 on the parties registered to receive electronic notification via the Electronic Case Filing System
 for the United States Bankruptcy Court for the Northern District of Texas, and via United States
 first class mail, postage pre-paid to the parties listed below:

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                                                         /s/ Rosa A. Shirley
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